Case 0:17-cv-61536-KAM Document 15 Entered on FLSD Docket 08/22/2017 Page 1 of 2



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 0:17-cv-61536-UU

  CARLOS BENDAYAN, et al.,

          Plaintiffs,

  v.

  DYMANIC INTERNATIONAL AIRWAYS, LLC, et al.,

        Defendants.
  _______________________________/


                                             ORDER

          THIS CAUSE is before the Court upon Plaintiffs’ Response to Order [D.E.10], Motion to

  Drop Captain Todd Thielbar and Incorporated Memorandum of Law. D.E. 14.

          THE COURT has reviewed the pertinent portions of the record and is otherwise fully

  advised in the premises.

          On August 2, 2017, Plaintiffs filed their Complaint against Defendants, including

  Defendant, Captain Todd Thielbar. D.E. 1. On August 10, 2017, the Court ordered Plaintiffs to

  show cause why the case should not be dismissed as to Captain Todd Theilbar because the

  Montreal and Warsaw Conventions permit claims only against carriers. On August 18, Plaintiffs

  responded that Captain Todd Theilbar had been misjoined. Plaintiffs, therefore, moved the Court

  to drop Defendant, Captain Todd Theilbar, pursuant to Federal Rule of Civil Procedure 21.

  Accordingly, it is hereby

          ORDERED AND ADJUDGED that Defendant, Captain Todd Theilbar, is DROPPED

  from this action. It is further

          ORDERED AND ADJUDGED that the case is CLOSED for administrative purposes.
Case 0:17-cv-61536-KAM Document 15 Entered on FLSD Docket 08/22/2017 Page 2 of 2



         DONE AND ORDERED in Chambers, Miami, Florida, this 21st day of August, 2017.



                                                 ________________________________
                                                 UNITED STATES DISTRICT JUDGE
  cc: counsel of record.
